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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
HERITAGE FOUNDATION and                )
MIKE HOWELL,                           )
                                       )
      Plaintiffs,                      )
                                       )
      v.                               )      Civ. A. No. 22-1770 (CJN)
                                       )
DEPARTMENT OF HOMELAND                 )
SECURITY,                              )
                                       )
      Defendant.                       )
______________________________________ )

                                    JOINT STATUS REPORT

       Pursuant to the Court’s September 29, 2022, Minute Order, Plaintiffs and Defendant,

Department of Homeland Security (“DHS”), by and through undersigned counsel, hereby

provide the following joint status report.

       1.        This action under the Freedom of Information Act (“FOIA”) was filed by

Plaintiffs on June 21, 2022. ECF No. 1. Plaintiffs generally seek records concerning the

investigation of the interaction of Department personnel with migrants on September 19, 2021 at

the U.S.-Mexico border at Del Rio, TX.

       2.        DHS and its component agency, Customs and Border Protection (“CBP”), report

as follows:

              a. DHS Statement: In previous JSR updates, DHS indicated that it has made two

                 releases in response to Plaintiff’s FOIA request dated March 23, 2022, and that it

                 was verifying that all reasonable searches have been exhausted. Since the last

                 report, DHS ran an additional search and has identified 2,393 potentially response

                 pages for further review, although DHS expects some of these pages may be
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                duplicative of records already processed. DHS will review at least 400 pages per

                month, with the next production expected in May 2023.

             b. Plaintiffs Statement: Plaintiffs are considering their position in light of the fact

                that DHS has only now run additional searches.

             c. CBP Statement: CBP conducted an initial search that retrieved approximately 520

                pages of potentially responsive records plus 29 potentially responsive videos.

                CBP produced releasable documents to Plaintiff on September 12, 2022. CBP is

                further evaluating the videos. CBP conducted a second search in accordance with

                Plaintiff’s provided search terms and retrieved 966 records comprising 94,653

                pages of potentially responsive records. CBP will process the potentially

                responsive records at a rate of 500 pages per month and make monthly releases of

                responsive, non-exempt records. To process these potentially responsive records

                more efficiently, CBP is processing parent emails first. Since the last JSR, CBP

                made releases on March 6, 2023, and on April 13, 2023.

             a. Plaintiff Statement: Plaintiffs object to CBP’s processing rate of 500 pages per

                month. Further, CBP has processed parent emails over Plaintiffs’ objection that

                this manner of processing deprives a number of record “families” of meaning and

                context, substantially limiting the usual value found in a rolling production.

       3.       Pursuant to the Court’s Minute Order of September 29, 2022, the Parties will file

an additional JSR no later than June 14, 2023.




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Dated: April 14, 2023               Respectfully submitted,


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                                    Chief, Civil Division

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